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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff, Criminal Number: 15-20652
Hon. George Caram Steeh
vs.
(D-5) QUINCY GRAHAM,
Defendant.

 

MOTION TO PRODUCE ALL CO-
DEFENDANTS’ STATEMENTS THAT THE
GOVERNMENT INTENDS OFFERING IN EVIDENCE

Defendant, (D-5) QUINCY GRAHAM, by his counsel, MICHAEL A.
RATAJ, and moves this Court for the production of all Co-Defendants’ statements
that the Government intends offering in evidence. In support of this Motion,
Defendant Quincy Graham states as follows:

1. Defendant Quincy Graham is charged in the Second Superseding
Indictment with Count 1, Racketeer Influenced Corrupt Organization-Conspiracy
in violation of 18 U.S.C. §1962(d); Count 26, Possession of a Firearm in
Furtherance of a Crime of Violence in Violation of 18 U.S.C. § 924(c); 2; and
Count 28, Felon in Possession of a Firearm, in violation of /8 U.S.C. $ 922g) (1).

2. Defendant Quincy Graham is charged with Operating a Criminal

Enterprise in violation of 18 U.S.C. § 1962(d). Counts 1, paragraph 10 of the
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Second Superceding Indictment alleges in part that Quincy Graham is a member of
the Seven Mile Bloods, which the Government alleges is a criminal enterprise.
Paragraph 10 in Count | further alleges that the Defendants:
“[djid knowingly, willfully and unlawfully combine, conspire,
confederate, and agree with one another to violate Title 18, United
States Code, Section 1962(c); that is to conduct and participate,
directly and indirectly, in the conduct of the affairs of said enterprise
through a pattern of racketeering activity, as defined in Title 18,
United States Code, Section 1961(1) and (5), consisting of:
a. Multiple threats and acts involving murder, in violation
of Michigan Compiled Laws, Sections 750.316(1), 750.83,
750.15 7a(a), and 767.39; and
b. Multiple offenses involving conspiracy to distribute and
distribution of controlled substances in violation of Title 21, United
States Code, Sections 841 and 846;
C. Multiple acts indictable under Title 18, United States
Section 1512.
3. The Government has charged the Defendant Quincy Graham and

fourteen (14) other individuals in a Second Superceding Indictment.
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4. It appears that several Co-Defendants have made statement(s) to law
enforcement implicating themselves and possibly Defendant Quincy Graham,
either directly or indirectly.

5. That if any such statements exist, these statements would give rise for
a motion for severance or other relief in the form of a Motion in Limine regarding
violation of Defendant Quincy Graham’s confrontation rights.

6. A hearing on this motion may not be deemed mandatory. However,
Defendant Quincy Graham requests a hearing.

7. Concurrence with the Government was sought on July 18, 2016, and
the Government has “reserved concurrence or objection until further review.”

8. The facts and law in support of this motion are more fully set forth in
the accompanying Brief.

WHEREFORE, Defendant, (D-5) QUINCY GRAHAM, respectfully
requests that the Court order the Government to provide to Defendant Quincy
Graham any statement made by a Co-Defendant which the Government intends to
offer into evidence during its case in chief, during cross-examination of any

defendant who might elect to testify, or in rebuttal.
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Dated: July 19, 2016

Respectfully submitted,

/s/ Michael A. Rataj
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff, Criminal Number: 15-20652

Hon. George Caram Steeh
VS.

(D-5) QUINCY GRAHAM,

Defendant.

 

BRIEF IN SUPPORT OF
MOTION TO PRODUCE ALL CO-
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STATEMENT OF ISSUE

WHETHER DEFENDANT QUINCY GRAHAM SHOULD BE
ALLOWED TO INSPECT OTHER CO-DEFENDANTS’
STATEMENTS BEFORE TRIAL IN ORDER TO DETERMINE
IF PREJUDICE WOULD RESULT FROM THE ADMISSION
OF THOSE STATEMENTS AT TRIAL

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STATEMENT OF CONTROLLING AUTHORITY
Fed. R. Crim. P. 14 provides for inspection of Co-Defendants' statements to
determine prejudice. In light of this rule, the Defendant's proposed procedure is
therefore both acceptable and more efficient than requiring an in camera

inspection.

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ARGUMENT

DEFENDANT QUINCY GRAHAM SHOULD BE ALLOWED

TO INSPECT OTHER CO-DEFENDANTS’ STATEMENTS

BEFORE TRIAL IN ORDER TO DETERMINE IF PREJUDICE

WOULD RESULT FROM THE ADMISSION OF THOSE

STATEMENTS AT TRIAL

Rule 14(b) of the Federal Rules of Criminal Procedures contemplates that
the Government may be ordered to produce defendants’ statements, at least, in
camera in order that the court may determine which statements are subject to
exclusion under Bruton v. United States, 39] U.S. 123, 127 (1968).

In Bruton, the Supreme Court held that the admission of a defendant’s
confession, which facially incriminates a co-defendant in a joint trial, violates a co-
defendant’s Sixth Amendment confrontation right when the defendant who made
the statement does not testify at trial. Although “in some contexts” a limiting
instruction can suffice regarding “inadmissible hearsay or other evidence,” in the
context of an incriminating extra judicial statement of a co-defendant the “risk that
the jury will not, or cannot, follow instructions is so great and the consequences of
failure so vital to the defendant, that the practical and human limitations of the jury
system cannot be ignored.” /d. at 135. In short, a limiting instruction could not

alleviate the error. Subsequently, the Court allowed redacted confessions that were

“not incriminating on its face” and replacing the defendant’s name with a
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redaction. Richardson v. Marsh, 481 U.S. 100 (1987); Gray v. Maryland, 523 U.S.
185, 192 (1998).

However, more recently, the Supreme Court in Crawford v. United States,
541 U.S. 36, 40 (2004) set forth a rule that undoubtedly undercuts the principles in
Richardson and Gray. Disclosure is now necessary because any “testimonial”
statement by a co-defendant, whether incriminating to another defendant, is
excludable, unless that defendant testifies at trial and is subject to cross-
examination, id. at 40, (admission of a co-defendant’s custodial statement denied
defendant his Sixth Amendment right to confrontation). Redaction will not satisfy
the dictates of Crawford.

Presumably each party knows if he gave a statement to the authorities. As
such, there is no harm in advising every other defendant that a non-cooperating co-
defendant has provided a statement. The procedure contemplated by Defendant
Quincy Graham is the best use of resources and the one most likely to avoid last
minute pre-trial or, far worse, mid-trial problems and motions for mistrial.

RELIEF SOUGHT

WHEREFORE, Defendant, (D-5) QUINCY GRAHAM, respectfully

requests that this Honorable Court order the Government to provide Defendant

Quincy Graham with any statement made by a Co-Defendant which the
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Government intends offering into evidence during its case in chief, during cross-

examination of any defendant who might elect to testify, or in rebuttal.

Dated: July 19, 2016

Respectfully submitted,

/s/ Michael A. Rataj
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CERTIFICATE OF SERVICE

STATE OF MICHIGAN _ )
)ss:
COUNTY OF WAYNE )

Michael A. Rataj hereby states that on July 19, 2016, I electronically
filed Motion to Produce all Co-Defendants’ Statements That the Government
Intends Offering in Evidence, Brief in Support of Motion and Proof of Service
with the Clerk of the Court using the ECF system which will send notification
of such to the following:

Christopher Graveline at Graveline2@usdoj.gov

And I hereby certify that I have mailed by United States Postal Service the above
mentioned documents to the following non-ECF participants:

None

Michael A. Rataj
MICHAEL A. RATAJ
